Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 1 of 34 PageID #: 816



 1                           UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
 2

 3    -------------------------------X
                                     :
 4    UNITED STATES OF AMERICA,      :
                                     :        19-CR-00576 (BMC-1)
 5                 v.                :
                                     :        February 28, 2020
 6    GENARO GARCIA LUNA,            :        Brooklyn, New York
                                     :
 7                     Defendant.    :
                                     :
 8    -------------------------------X

 9
              TRANSCRIPT OF CRIMINAL CAUSE FOR BAIL APPLICATION
10                   BEFORE THE HONORABLE ROBERT M. LEVY
                        UNITED STATES MAGISTRATE JUDGE
11

12    APPEARANCES:

13
      For the Government:            MICHAEL ROBOTTI, ESQ.
14                                   United States Attorney’s Office
                                     Eastern District of New York
15                                   271 Cadman Plaza East
                                     Brooklyn, New York 11201
16

17    For the Defendant:             CESAR DeCASTRO, ESQ.
                                     VALERIE GOTLIB, ESQ.
18                                   7 World Trade Center, 34th Floor
                                     New York, New York 10007
19

20    Spanish Interpreter:           MICHAEL MICHELENA

21

22    Court Transcriber:             MARY GRECO
                                     TypeWrite Word Processing Service
23                                   211 N. Milton Road
                                     Saratoga Springs, New York 12866
24

25


      Proceedings recorded by electronic sound recording,
      transcript produced by transcription service
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 2 of 34 PageID #: 817



                                                                                 2

  1   (Proceedings began at 2:59 p.m.)

  2               THE CLERK:    Criminal Cause for a Bail Application for

  3   case No. 19-CR-576, USA v. Luna.        Counsel, please state your

  4   appearance for the record.

  5               MR. ROBOTTI:     Good afternoon, Your Honor.       Michael

  6   Robotti for the United States.

  7               THE COURT:     Good afternoon.

  8               MR. DeCASTRO:     Good afternoon, Judge.      Cesar DeCastro

  9   for Mr. Garcia Luna who’s standing to my left.

 10               THE CLERK:     Previously sworn Spanish interpreter also

 11   present.

 12               THE COURT:     Is it working?

 13               THE CLERK:     Yes, Your Honor.

 14               THE COURT:     Okay.

 15               MR. ROBOTTI:     Judge, I’d like to start by addressing

 16   an issue that was raised yesterday.         I wasn’t here yesterday.

 17   Ms. Reid was here.       But my understanding is that defense

 18   counsel represented that Mr. Garcia Luna had paid rent on the

 19   mansion that he owned in South Florida once he moved to the

 20   United States.     Mr. Luna said to the Government during his post

 21   arrest statement that he lived there rent free.           So the

 22   Government would like to hear from the defense whether it is

 23   the position that Mr. Garcia Luna lied to the Government during

 24   his post arrest statement because we think that’s highly

 25   relevant to the fact as to whether Mr. Garcia Luna will stand
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 3 of 34 PageID #: 818



                                                                                 3

  1   by his word to the Court that he is going to show up for his

  2   court appearances when he signs this bond.

  3               THE COURT:     All right.   So specifically what was the

  4   statement that he made that you believe is untruthful?

  5               MR. ROBOTTI:     He said that he lived at this residence

  6   rent free and yesterday defense counsel said the exact

  7   opposite.

  8               THE COURT:     Okay.   And which residence is that?

  9               MR. ROBOTTI:     It’s the residents at 274 South Island

 10   Drive.

 11               THE COURT:    In?

 12               MR. ROBOTTI:    In Golden Beach, Florida.

 13               THE COURT:    And who does it belong to?

 14               MR. ROBOTTI:    It was owned by a corporation that

 15   purchased it in 2012.      Our position is that that corporation

 16   purchased it on behalf of Mr. Garcia Luna.          It’s a $3.3 million

 17   5,900 square foot residence.

 18               THE COURT:    And it belongs to the corporation at this

 19   time?

 20               MR. ROBOTTI:    No, it was sold in 2016.

 21               THE COURT:    Sold in 2016.     And where did the proceeds

 22   of the sale go?

 23               MR. ROBOTTI:    The Government doesn’t have that

 24   information, Your Honor.        My understanding from the interview

 25   with Mr. Luna’s wife is that their contention is it went to the
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 4 of 34 PageID #: 819



                                                                                 4

  1   corporation.

  2               THE COURT:    Okay.   Does he have any interest in the

  3   corporation at this time?

  4               MR. ROBOTTI:    His name is not on the corporate

  5   documents, Your Honor.      But our understanding is, you know, he

  6   was involved in the selection of that property while he was

  7   still in office in Mexico in 2012.         And I suppose that’s

  8   another issue we should address about his post arrest

  9   statement, Your Honor, is that in his post arrest statement to

 10   the Government, Mr. Luna said that he was not involved in

 11   selecting that property, he didn’t know when it was purchased.

 12   We interviewed one of Mr. Garcia Luna’s suretors today, Ivan

 13   Ramirez, who recalls in fact that Mr. Garcia Luna was involved

 14   in the selection of that property prior to the purchase.             We’ve

 15   also interviewed the prior owner of that property who recalls

 16   that Mr. Garcia Luna and his family were involved in the

 17   selection of that property prior to its purchase.           So again

 18   here now we have Mr. Garcia Luna making a statement that is

 19   directly contradicting a statement that one of his proposed

 20   suretors is making.      So the Government again would like to know

 21   whether it’s Mr. Garcia Luna’s position that he lied during his

 22   post arrest or that his proposed suretor is lying to the

 23   Government about what happened during the course of the sale.

 24               THE COURT:    And what is -- in addition to the alleged

 25   untruthfulness, is there other significance to the answer to
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 5 of 34 PageID #: 820



                                                                                  5

  1   that question?

  2                MR. ROBOTTI:   About whether or not that --

  3                THE COURT:   He was involved in the purchase.

  4                MR. ROBOTTI:   Yes, Your Honor, because one of the

  5   contentions that Mr. Garcia Luna is making is that he does not

  6   have access to sufficient funds.        And it is our position that

  7   he does in fact have access to funds in the names of other

  8   people.    For instance, this property, this $3 million property

  9   was purchased on behalf of he and his family under the name of

 10   a corporation that he is not tied to on any corporate

 11   documents.    This same corporation bought Mr. Garcia Luna a

 12   $700,000 yacht that same year for his exclusive use.            In

 13   addition to that, there are other payments that have been made

 14   in the names of third parties that have gone to benefit Mr.

 15   Garcia Luna.    For instance, one of Mr. Garcia Luna’s proposed

 16   suretors is Caesar Geraldo I believe.         Yes, Caesar Geraldo.         He

 17   made payments to the -- of about $40,000 to the private

 18   institutions that Mr. Garcia Luna’s children are going to.

 19   Again, I think that was in -- I think that was recently in 2016

 20   or 2017.    And there have been other instances of another

 21   corporation that was tied to this same corporation, the owners

 22   of the same corporation that purchased the mansion and that

 23   purchased the yacht.      Another corporation tied to the owners of

 24   that one also made a significant payment to a private school on

 25   behalf of Mr. Garcia Luna.       So what we’re seeing here, Your
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 6 of 34 PageID #: 821



                                                                                 6

  1   Honor, is that although Mr. Luna is claiming that he does not

  2   have access to these assets, there is a pattern here of assets

  3   in other people’s names being used for his benefit which goes

  4   directly to the question of bail here.

  5               In addition, while we’re on the topic of assets he

  6   has access to, there is some discrepancy that the Government

  7   would like clarified about whether or not Mr. Garcia Luna and

  8   his wife continued to own Augie [Ph.] Café.          According to Mr.

  9   Garcia Luna’s wife, this is a café that’s in Florida that the

 10   family has owned for the past few years.          According to Mr.

 11   Garcia Luna's wife, that was sold last year.          According to the

 12   accountant that works for Mr. Garcia Luna and his family, that

 13   sale never actually went through and as far as he knew, the

 14   family still owned the property.        We spoke to the manager of

 15   Augie Café today who indicated that as far as he knew, no sale

 16   had been completed.      He was not aware of whether -- he admitted

 17   there could have been a sale without his knowledge.            The last

 18   he knew, the family continued to own the café.           So we are

 19   concerned, Your Honor, about the fact that Mr. Garcia Luna does

 20   have access to assets.      You know, I think whether or not he has

 21   access to these assets I’m happy to go into further.            It really

 22   doesn’t matter that much in terms of what it would take him to

 23   actually flee.     You know, I do find it hard to believe that

 24   he’s coming into court saying that he has $4 million worth of

 25   properties but that he doesn’t have access to any cash.             But
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 7 of 34 PageID #: 822



                                                                                 7

  1   even if we are to assume that that is true, what we’re talking

  2   about in terms of flight here is him getting into a car and

  3   driving to the Mexican border that he knows he can cross

  4   without travel documents.       Or getting into a boat, perhaps the

  5   yacht that he had bought for him for $700,000 and taking a boat

  6   to a different country that doesn’t have extradition or to

  7   Mexico where he could then flee.        So it’s not like this will

  8   take a significant amount of assets for him to actually flee,

  9   Your Honor.    And once he’s in Mexico, it’s the Government’s

 10   position that either his family members, he has extensive

 11   extended family there, or his web of former corrupt officials

 12   who he worked with who are his co-conspirators in this case, or

 13   the [inaudible] cartel will shield him.          And this happens

 14   repeatedly in Mexico where fugitives are shielded from justice.

 15               MR. ROBOTTI:    Your Honor, excuse me, I do have some

 16   specific issues with the suretors too which I’m happy to go

 17   over.

 18               THE COURT:    Yes, why don’t you?      And then I’ll let

 19   the defense speak after that.

 20               MR. ROBOTTI:    So with respect to Caesar Geraldo, I’m

 21   interested to know if defense counsel has actually spoken to

 22   him.    The Government has been trying to contact Mr. Geraldo for

 23   well over a month.      He hasn’t answered his phone once.        We

 24   tried him yesterday, we tried him today.          Travel records show

 25   that he last left the United States last year.           He was
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 8 of 34 PageID #: 823



                                                                                 8

  1   scheduled to come back to the United States on January 26, 2020

  2   on a flight back from Cancún.        He was not on that flight.       So

  3   as far as the Government knows, he’s not in the United States

  4   and shouldn’t be considered as a suretor unless the defense can

  5   come forward with some information otherwise.

  6               Andres Miro [Ph.], Your Honor, it’s the position of

  7   the Government that, you know, someone with an income of about

  8   $60,000 is not a sufficient suretor in this case for a $1

  9   million bond.     The same thing with Paula Perez.        She makes

 10   about $25,000 per year.       Again, it’s hard to see how someone

 11   making that amount of money would be able to satisfy a $1

 12   million bond.     So therefore, we think there’s little assurance

 13   here.

 14               And then with respect to the remaining suretors, Your

 15   Honor, and I think this is important here to consider when we

 16   are thinking about the structure of this package, these

 17   suretors really don’t have any financial stake here.            These

 18   suretors have no skin in the game for whether Mr. Garcia Luna

 19   is going to show up or not.

 20               THE COURT:    You mean there’s no property posted?

 21               MR. ROBOTTI:    Well, the property -- there’s property

 22   being posted.     It’s Mr. Garcia Luna’s property --

 23               THE COURT:    Right.

 24               MR. ROBOTTI:    -- of about $1 million.       And it’s a $1

 25   million bond.     And this property which we talked about before
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 9 of 34 PageID #: 824



                                                                                  9

  1   is likely subject to forfeiture when he’s convicted anyway.                So

  2   I don’t think that his property offers any real incentive for

  3   him to stay in the United States.        But just holding out what

  4   will happen here if Mr. Garcia Luna in fact absconds is that

  5   the Government is going to forfeit the $1 million property and

  6   the rest of the suretors are going to be off the hook.            They

  7   don’t have any financial risk here.         So I don’t see how them

  8   signing this bond is offering the Government or the Court any

  9   assurance that he’s going to show up.         And in fact, when we

 10   spoke to Mr. Ramirez this afternoon he indicated that if this

 11   property, Mr. Garcia Luna’s property was not being put up, he

 12   would not sign this bond because he said frankly I don’t have

 13   $1 million to pay.      So you know, it’s the understanding of

 14   these suretors that they’re not going to have to pay because

 15   this property is going to be forfeited.          So I don’t think that

 16   the suretors offer any additional assurance to the Court that

 17   he’s going to show up besides the mere posting of this property

 18   which as I said Mr. Garcia Luna is going to be more than

 19   comfortable walking away from that property because he knows

 20   he’s going to lose it in any event if he’s convicted.

 21               So Your Honor, we think that this package for those

 22   reasons is wholly inadequate and we also think that this

 23   particular defendant has serious credibility problems which

 24   should lead the Court to be incredibly skeptical of his

 25   assurance that he’s going to show up to court as he’s supposed
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 10 of 34 PageID #: 825



                                                                                  10

   1   to.

   2               THE COURT:   All right.     Thank you."

   3               MR. DeCASTRO:    So what can I address first if there’s

   4   a particular order the Court would want?

   5               THE COURT:   Up to you.

   6               MR. DeCASTRO:    There’s a lot there.      I guess I’ll

   7   start with what they started with which is his home in Florida

   8   that they’re talking about which is 274 South Island, Golden

   9   Beach, Florida.     The claim is that he picked it out, they

  10   purchased it for him, some shell company I guess.           The

  11   Government knows that it was purchased by this company that is

  12   not owned by Mr. Garcia Luna.       They know who owns it.        They’re

  13   real people, they’re real individuals and they have a real

  14   business.   In fact, what I said yesterday said that the Garcia

  15   Lunas were renting that property.        What was my basis of that?

  16   I didn’t pull that out of thin air.        I was looking at a

  17   residential lease agreement.       And that residential lease

  18   agreement is between that company and the defendant’s wife and

  19   it has the exact address of the location and how much the rent

  20   is.   I can provide that to the Court if they want.          The

  21   Government has this because this was on Mr. Garcia Luna's

  22   laptop that they seized at the time of his arrest and which

  23   that he provided the password to, did not make them go get a

  24   warrant.    He said here, you can have it, go ahead and look.

  25   All these documents are there.       So that’s the basis that they
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 11 of 34 PageID #: 826



                                                                                  11

   1   wanted to start with, what is my basis for saying that?

   2   There’s my basis.     That house did have a boat on it that is

   3   owned by that company.      That company said here, you can -- his

   4   employers are saying you can live in this house.           You can live

   5   in this house and it’s with rent.        There are times where that

   6   rent would not be charged monthly because they owe him money

   7   from work being done.      He was employed and working very hard.

   8   So that’s the issue with the home.

   9                The issue -- well, first I’d like to start with

  10   instead of the Government asking me questions, I’d like to just

  11   point out to the Court what happened since yesterday.            So

  12   obviously there was an issue that the Government came in here

  13   with and said oh look, two suretors, they’re no longer

  14   available.    They don’t want to do it.       Okay.   And I said to the

  15   Court, you know, this was strange, I was getting mixed

  16   messages.    So went back to my office and counsel finally

  17   returned my call.     We had a long conversation.       He counseled

  18   his client into the conversation.        We had a conversation

  19   regarding the surety issue.       And so that cleared up.      That

  20   lawyer immediately emailed the Government saying they are

  21   willing to cosign the bond.       In fact, they are here today

  22   sitting in the front row.      Both of those people are here this

  23   morning on a drop of a dime to come here to clear up that

  24   issue.

  25                I then reached out because I understood to have
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 12 of 34 PageID #: 827



                                                                                  12

   1   backup I said well, let’s just have every cosigner possible,

   2   what we can present to this Court, they’re willing to sign a

   3   bond.   Members of his community living in Florida, these are

   4   people that are friends of the family, people that work around

   5   him, with him.    They’re friends and they’re willing to sign.

   6   The Government has issues with some of those suretors because

   7   they don’t make enough money.       Well add it up, they make over

   8   $1 million annually together.       So first -- so we cleared up

   9   that issue.    I provided the names, the phone numbers, the

  10   relationship to Mr. Garcia Luna, every person and email about 3

  11   o’clock, 3:30, 4 o’clock yesterday to Pretrial Services.            I

  12   talked to the Government on that information and I said they’re

  13   all ready to be interviewed, whatever you want.           The response I

  14   got from Pretrial was please have them fill out a suretor

  15   declaration form.     I immediately went, got a suretor

  16   declaration form filled out for everyone except the two

  17   individuals that are here today because I hadn’t spoken to

  18   counsel about that issue.      That was all done.      I’ve been

  19   forwarded to Pretrial Services the Housing and Urban

  20   Development closing statements, or HUD statements, for the

  21   three properties that Mr. Garcia Luna is prepared to offer, a

  22   combination of which I don’t think all three are necessary, but

  23   we’re willing to put up all three.        The Court should have HUD

  24   statements on all three.      I sent them also to the Government.

  25              So I’d like -- and so one of the -- so that means
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 13 of 34 PageID #: 828



                                                                                  13

   1   that I propose the original four suretors plus the six more,

   2   three of which are moral suasion, all of which Pretrial

   3   Services has indicated a suitable surety in terms of either

   4   moral suasion or just a suitable surety.

   5                So one of those suretors I might add is a former FBI

   6   agent.   The Government has spoken to that person today.           He is

   7   willing if necessary -- one of the questions that Pretrial had

   8   for me yesterday was are there any properties that are owned by

   9   someone else that you could put up?        My answer was I don’t

  10   that’s necessary.     However, I endeavored to speak to the

  11   proposed suretors and that former FBI agent indicated sure, I

  12   have a property, it’s worth $300,000, I’d be willing to put it

  13   up.   I have the address of that property.        I don’t have yet the

  14   documents of it because I’ve just been speaking to him this

  15   morning or this afternoon about it.        But that is available.

  16                THE COURT:   Is it a residence or a business property?

  17                MR. DeCASTRO:   It’s a residence I believe.

  18                THE COURT:   Where he lives?

  19                MR. DeCASTRO:   I think it’s a rental income

  20   residence.

  21                THE COURT:   A rental income.

  22                MR. DeCASTRO:   I’m not 100 percent sure.

  23                THE COURT:   And what’s the value?

  24                MR. DeCASTRO:   About 300,000 I believe.       Maybe a

  25   little -- he said maybe a little shy of 300 depending on the
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 14 of 34 PageID #: 829



                                                                                  14

   1   market.

   2              Now, addressing a couple of the things that the

   3   Government raised, the issue of the restaurant.           I mean first

   4   of all, I take a little bit of issue in this being a discovery

   5   exercise but fine, the restaurant issue, my understanding is

   6   that it was sold.     It was sold -- and my understanding is based

   7   on the same understanding they have.        I spoke to the accountant

   8   as well.   I know exactly what’s going on.        I know that the

   9   Government has subpoenaed the accountant.         He shared that with

  10   me and the details of the subpoena.        And so what I was informed

  11   was that he doesn’t know yet about booking that.           His

  12   understanding he was told that it was sold.          He’s just working

  13   on getting the documents in order to [inaudible] Mr. Garcia

  14   Luna’s been arrested.

  15              THE COURT:    He’s the accountant?

  16              MR. DeCASTRO:     He’s the accountant, yes.       So he could

  17   not give me any clarity on that in terms of -- his

  18   understanding was that it was sold but he has an accountant for

  19   that.

  20              THE COURT:    Did he say how much it was selling for?

  21              MR. DeCASTRO:     No.   I can find out though.

  22   [Inaudible] if the Court wants me to.

  23              MR. ROBOTTI:     Your Honor, just on that point, my

  24   understanding from the accountant is there may have been some

  25   contracts signed but the deal fell through and no money was
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 15 of 34 PageID #: 830



                                                                                  15

   1   ever transferred in connection with the sale.

   2              MR. DeCASTRO:     They’re mistaken.      I think they’re

   3   mistaken on that.     I think the Government is in the middle of

   4   their investigation.     They can’t just assume the worst.         That’s

   5   not my understanding.      They assume that he wasn’t renting a

   6   property and I have a lease.       So --

   7              MR. ROBOTTI:     Just on the rental point, the point I

   8   made earlier was not about whether he was paying rent or not.

   9   I think it’s perfectly plausible that he was paying rent to try

  10   to cover the fact that he had this house purchased for him.                My

  11   point was that he told the Government during his post arrest

  12   interview that he was living there rent free and that

  13   materially contradicts what counsel is saying here today.

  14              MR. DeCASTRO:     First, I think that’s not what he

  15   said.   I think that they are trying to make something black and

  16   white that is not black and white.

  17              You know, so the other issue is the Government’s

  18   disbelief that he has no cash available.         They don’t believe

  19   it.   But they don’t give you any evidence that he has cash

  20   available to him.     I have provided you with specific evidence

  21   of that and that he’s blocked from the financial system in

  22   Mexico.   He cannot sell his property.        I don’t think the

  23   Government is going to deny that they are not willing to tell

  24   any proposed purchaser of property that they are not going to

  25   seek it from forfeiture, but they have not said whether they
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 16 of 34 PageID #: 831



                                                                                  16

   1   will or not.    No one is buying the property with that

   2   potential, even potential.       They continue to say that he has a

   3   web, there was a web of former corrupt officials.           Let me

   4   repeat what I said yesterday which is the Government cannot

   5   just ask for a human being to be detained without bail, to be

   6   deprived of his liberty and just say it’s because we think

   7   there’s this web out there of people that will help him and

   8   then say who they are and try to identify for this Court these

   9   are the people that we know are going to help him.           Of course

  10   assuming the absurdity that he’s somehow going to walk to Texas

  11   and walk over the border or get into a vehicle over the border,

  12   there is -- with location monitoring that’s not happening.

  13   Okay?   He’s not leaving his wife and children here.          He’s not

  14   leaving his life that he built here.        The Government says

  15   there’s no risk to any of the suretors, no risk at all.            So

  16   then they should just say don’t put up the property.           There’s

  17   tons of risk to the suretors.       And I bet you many of them are

  18   willing to sign still because I spoke to almost all of them

  19   that understand.     And the reason they understand is because

  20   these are members of this community.        The Government wants to

  21   attack people as improper suretors who work in a restaurant,

  22   that manage the restaurant that [inaudible] own.           These are

  23   people that know the family.       They know the family.      They are

  24   willing to do it because this is their community, these are

  25   their friends.    Right?    He’s not going to want to leave this
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 17 of 34 PageID #: 832



                                                                                  17

   1   group of people holding the bag.        This group of ten suretors

   2   includes his family.     He’s going to leave his wife, his two

   3   children who are in college here in the United States who are

   4   starting their -- who we hope are starting their career very

   5   soon?   All of his friends?      He’s going to leave them holding

   6   the bag?    I just don’t see it happening.       And the Court can

   7   certainly impose conditions that can assure his appearance.                I

   8   think that addressed [inaudible].

   9               I mean I guess the only thing I should say is, you

  10   know, the Government has his passport and his green card.            Why

  11   do they have that?     Not because someone asked him to, he gave

  12   it to them.    So they arrested him, they seized him, they can

  13   have it.    They have it.    It’s in place.     So they know exactly

  14   where one of the suretors has been going.         They know where he

  15   is, they know when he’s scheduled to fly.         He’s not going

  16   anywhere.

  17               MR. ROBOTTI:    Judge, just to address a few points, I

  18   mean short of the fact that he doesn’t have the green card or

  19   the passport is going to prevent him from getting on a flight

  20   to Mexico, of course.      But there’s other ways to get out of the

  21   country.    And one of the way -- I spoke to a Border Patrol

  22   agent this morning who said to me that he can drive across the

  23   border without showing any documents.         So it’s not hard to get

  24   into a car and drive from Florida to the border in Texas.            It’s

  25   within a day.    On top of that, he can get on a boat, take the
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 18 of 34 PageID #: 833



                                                                                  18

   1   boat outside the country.      We can’t stop him.      And electronic

   2   monitoring has its limitations, Judge.         Sure we would ask for

   3   him to be on a bracelet but he can slip that off and be gone

   4   before we even know about it.

   5              You know, in terms of the package that’s been

   6   proposed, I would point out that, as I said before, the

   7   properties that Mr. Garcia Luna is offering to put up are

   8   meaningless.    They offer no assurance here that he’s going to

   9   show up because those properties are going to be subject to

  10   forfeiture in any event.      And my understanding from speaking

  11   with the two suretors who are in court today, or at least Mr.

  12   Ramirez, he is not willing to sign the bond without those

  13   properties.    So I think that we need to take that into

  14   consideration here when we’re looking at this proposed package

  15   because as I said before, the suretors don’t in fact have any

  16   financial stake in this package right now.          All Mr. Garcia Luna

  17   has to be willing to do is give up these properties, flee to

  18   Mexico and give up these properties that he’s going to lose

  19   anyway.   I bet that he’s willing to do that to avoid going to

  20   jail for potentially the rest of his life.

  21              In terms of his ties to the community, Mr. Garcia

  22   Luna up until 2012 had spent his entire life in Mexico.            His

  23   family, his extended family is there.         His family that resides

  24   in the United States right now also are Mexican citizens.

  25   Easily leave the United States as well if their father is going
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 19 of 34 PageID #: 834



                                                                                  19

   1   to avoid spending potentially the rest of his life in United

   2   States custody.     So I think these are things we need to be

   3   looking at seriously here which are his ties back to Mexico and

   4   the lack of significant ties that he’s had in the United States

   5   up until 2012.

   6              In terms of the corrupt officials that will assist

   7   him, as Your Honor knows, we’re not going to stand up here and

   8   name officials that are under investigation.          There’s a DOJ

   9   policy against naming unindicted co-conspirators.           But we are

  10   entitled to stand up here and proffer based on our

  11   investigation and interviews with numerous other cooperating

  12   witnesses that Mr. Garcia Luna was connected to an entire web

  13   of corrupt officials who were being paid off by the [inaudible]

  14   cartel.   Many of those officials are still in Mexico.           Many of

  15   them still hold powerful positions in the private sector.            And

  16   they would be willing, we believe, to facilitate his flight

  17   from justice if nothing else to avoid a public trial where

  18   their names will come out on the record.

  19              And on top of that, Your Honor, you know, I think

  20   we’ve gone back and forth about whether or not he still has

  21   title to this company, the Augie Café.         I think it is important

  22   to know whether or not, they should be able to answer whether

  23   or not that is still their asset.        If they do still have access

  24   to that corporation, you know, it is an ongoing concern, it is

  25   a business that is still operating and that is another source
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 20 of 34 PageID #: 835



                                                                                  20

   1   of assets that he could be using here.         But again, just

   2   stepping back, Your Honor, I think the assets question whether

   3   he has access to it or not, you know, I just don’t want to lose

   4   sight of which I do think is a critical point is it doesn’t

   5   take a lot of money for him to flee.        He has an extensive

   6   network in Mexico, legitimate and illegitimate.           And I think

   7   he’s going to be able to take advantage of that to get out of

   8   the country.

   9              MR. DeCASTRO:      Judge, if I could just on --

  10              THE COURT:    Let me just ask a question.        I think I

  11   asked it yesterday but if the suretors had posted property,

  12   would that change your view?

  13              MR. ROBOTTI:     No, Your Honor.     It’s the Government’s

  14   position that there’s no package that is sufficient here.            But

  15   certainly this package is not sufficient.

  16              THE COURT:    Okay.    So think back to the

  17   [indiscernible] prosecutions, and I don’t know if they’re

  18   exactly analogous but I was trying to think of some analogous

  19   situation where there were people who were high officials in

  20   foreign governments who had been accused of either taking or

  21   giving bribes and who came to the US and many of them were

  22   released on bond, not all, but many of them were.           How would

  23   you describe the difference between this defendant and those

  24   defendants?    If you know.    If you’re familiar enough with those

  25   cases.
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 21 of 34 PageID #: 836



                                                                                  21

   1                MR. ROBOTTI:   Sorry, Judge, offhand I don’t know all

   2   the details of the bond packages in the [indiscernible] case.

   3   I try to keep up on all the office’s prosecutions but I can’t

   4   say that I’m intimately familiar with what happened there.

   5                THE COURT:   Yes.   Because I had a number of those

   6   before me and there were many, many, many people released on

   7   substantial bonds who had holdings and extensive ties in other

   8   countries.    I suppose some of the differences would be that

   9   they came and self-surrendered in the US.         Some of them did.

  10   But there are some similarities to this defendant.           I suppose

  11   the other question would be whether or not there’s -- what you

  12   describe as -- whether there was what you describe as a web of

  13   corrupt officials who would have protected them had they gone

  14   back to their country and fled.        So that may be the difference.

  15   I’m not sure.

  16                MR. ROBOTTI:   And I do think we have to be looking at

  17   this particular defendant here, Your Honor.          I don’t know what

  18   property was posted.      I don’t know what suretors were involved,

  19   what would be the case.      But looking at this particular package

  20   that’s being offered here, especially when this property that’s

  21   within the United States that he’s offering to put up, this $4

  22   million, as I said, that doesn’t carry any weight at all, so

  23   we’re basically left with, you know, his ability to just give

  24   up these forfeitable properties if he’s willing to flee to

  25   avoid a life sentence.      I just don’t think that’s sufficient
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 22 of 34 PageID #: 837



                                                                                  22

   1   here, Judge.    Nobody has any stake in this.

   2               THE COURT:   All right.     Thank you.

   3               MR. DeCASTRO:    So Judge, I guess let me address that

   4   issue.   The Government talks to you on forfeiture issues as if

   5   they won at trial.     We’re talking about substitute assets that

   6   they say they are going to seek when they win a trial.            We are

   7   at the early stages of a trial.        Mr. Garcia Luna is presumed

   8   innocent.   He is fighting these charges.        Yet the Government

   9   acts as if he’s pled guilty already or they’ve proven him

  10   guilty or -- excuse me.      So first of all, there’s that.        And to

  11   say that he doesn’t have -- it’s meaningless is based on what I

  12   don’t know.    These properties are his.       They’re his retirement

  13   essentially and they are worth a lot of money.          It’s not just

  14   one property as I said.      The potential for three if the Court

  15   wants that.

  16               In terms of him just getting on a boat, number one,

  17   as I think I indicated to Pretrial a number of times, that he

  18   would reside in Washington, DC.        He would not be residing in

  19   Florida.    But he would be residing with his wife who is living

  20   with their daughter in college, in her college apartment.

  21   They’re living together.      They would reside in Washington.

  22   Should the Court want him to rent an apartment here in New

  23   York, he would do that if it was necessary.          He’s not going to

  24   be on the border.     He’s not walking across, jumping in a car.

  25   You know, we’re talking about days and days of travel.            And you
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 23 of 34 PageID #: 838



                                                                                  23

   1   know, on Fifa [Ph.], I’m a little familiar with some of the

   2   defendants in Fifa.     I don’t think a single defendant -- I’m

   3   not aware of any single defendant who was released fleeing in

   4   that case either.     So I don’t think that would be the case here

   5   as well.   And I do think the Government made allegations that

   6   they have all these connections all abroad and they’re all very

   7   high level officials.      None of those people came [inaudible].

   8   His ties to the community are strong.         This is where he wanted

   9   to make his life.     His family is here.      They have remained her

  10   since his arrest.     They’re living in Washington and the son is

  11   not in Washington but they are all United States citizens, all

  12   three of them.    And so I don’t see how the drastic remedy of

  13   detention is appropriate here.

  14              MR. ROBOTTI:     Judge, you know, again, it’s hard to

  15   talk about Fifa without knowing the specifics, but I can

  16   guarantee that the people who were detained in Fifa didn’t flee

  17   and that’s what we should be doing here.

  18              In terms of the forfeiture, Judge, I think these are

  19   potentially substitute assets but the point is what we’re

  20   looking at in terms of incentives to stay in the United States.

  21   And if somebody’s sitting here and saying if I stay in the

  22   United States is a good chance that I lose these properties,

  23   these $4 million properties, there’s a good chance I go to jail

  24   for the rest of my life, or I can just give up those properties

  25   that I’m likely to lose anyway and go to Mexico, I think that
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 24 of 34 PageID #: 839



                                                                                  24

   1   there’s a strong incentive to go to Mexico rather than stay in

   2   United States with respect to those properties.           So that’s the

   3   point where making is that these properties he’s offering to

   4   put up don’t give an incentive to stay here because they’re

   5   likely to be forfeited anyways.

   6               MR. DeCASTRO:    And Judge, and ruin the lives of ten

   7   of his closest friends.

   8               MR. ROBOTTI:    But that’s not true.      That’s not

   9   accurate under this bond.      Under this bond, the $1 million

  10   property would be forfeited and all these other suretors would

  11   be off the hook.     They don’t have any financial stake in this.

  12               MR. DeCASTRO:    So then remove the properties and

  13   people will sign.     Mr. -- as I indicated, the former FBI agent

  14   would put up his house.      And do a combination and he’ll put up

  15   his home.   I don’t see what the issue is.

  16               THE COURT:   That’s Mr. Villar [Ph.]?

  17               MR. DeCASTRO:    Yes.

  18               THE COURT:   Would any of the other suretors put up

  19   their property, their homes?

  20               MR. DeCASTRO:    I don’t think they own homes.

  21   Properties that [inaudible] available [inaudible].           I believe

  22   that home is also owned outright.

  23               THE COURT:   Right.     As I was looking at this, there

  24   was one thing that was missing to me was there wasn’t any real

  25   property that the suretors themselves were posting, residences
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 25 of 34 PageID #: 840



                                                                                  25

   1   that they lived in that if he fled they would lose.           That’s a

   2   strong incentive.     A rental property is an investment.         It’s

   3   something different.

   4               MR. DeCASTRO:    But as the Government has pointed out

   5   to suretors, or at least as they’ve reported to me, that it’s

   6   not.    They’re saying that now in court.       They’re saying to

   7   suretors that well no, well if we’re forfeiting those

   8   properties then you’re going to be on the hook for that money,

   9   for that $1 million bond.      So it’s not nothing.       And they’ve

  10   all been informed of that that yes, the property might be split

  11   up but if the Government is correct that they are going to

  12   forfeit that property, they will be on the hook.           They will be

  13   on the hook.    That’s -- I’ve been clear to say that to them.

  14   It’s not just oh yeah, don’t worry, sign because there’s

  15   property.   That’s not what the message has been.          That’s not

  16   [inaudible].

  17               THE COURT:   Well, how are they on the hook?         I mean

  18   their wages could be garnished over a period of time, 10

  19   percent, whatever the percentage is.

  20               MR. DeCASTRO:    The Government could move on any of

  21   their property they had, right?        And I mean in my experience,

  22   the Government when they go after a bond, they go after that

  23   bond.   That’s why it’s very, very difficult for the person’s

  24   loved ones.

  25               MR. ROBOTTI:    But practically speaking, Judge, if
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 26 of 34 PageID #: 841



                                                                                  26

   1   there is a $1 million property tied to this bond --

   2              THE COURT:    Right, they’ll go after that first.

   3              MR. ROBOTTI:     -- the defendant flees, the Government

   4   is going to forfeit that $1 million property and the bond will

   5   be satisfied.    Therefore, all these other suretors, their lives

   6   aren’t going to be ruined as defense counsel says.           They’re

   7   going to be off the hook.

   8              THE COURT:    How much is Mr. Luna’s property worth?

   9              MR. ROBOTTI:     My understanding is that there’s about

  10   $4 million worth of properties.

  11              THE COURT:    Would your concerns be alleviated if the

  12   bond were $5 million?

  13              MR. ROBOTTI:     No, Judge.    I mean I think we have the

  14   same concerns.    I mean the property is, again, $4 million of

  15   properties don’t matter because he’s going to be willing to

  16   give up those properties because he knows he’s likely to lose

  17   them anyways.    In terms of the additional $1 million, it’s one,

  18   not clear to me that any of these suretors are going to sign

  19   under those circumstances but I think the defense has an

  20   obligation to have figured that out and come back to the Court

  21   with a package that indicates who’s willing to sign in the

  22   absence of these properties.       On top of that, I do think that

  23   most of these suretors cannot satisfy a $1 million bond.            And

  24   look, the one person who is potentially offering property lives

  25   in Utah.   He doesn’t see the defendant and his family very
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 27 of 34 PageID #: 842



                                                                                  27

   1   often.    It’s not clear to me at all that the defendant is not

   2   willing to leave him holding the bag to avoid a potential life

   3   sentence.

   4               THE COURT:   Okay.

   5               MR. DeCASTRO:    So someone who has served the

   6   Department of Justice as an agent, is retired and still

   7   working, told me today this morning he had no problem, whatever

   8   you need because I trust him, I know him, I’ve worked with him.

   9   He is a good honest person.       What’s happening to him is unfair

  10   and unjust.    Whatever you need from me, just let me know.          You

  11   know, I don’t think that’s a person that -- and the only reason

  12   I know about that person is from my client.          And so, you know,

  13   the Government’s suggestion if the Court set a $5 million bond

  14   [inaudible] oh no one’s going to sign.         Well, you know, just to

  15   say give it more time, give it more time so that he can stay

  16   detained, we could try to jump through some more hoops and

  17   figure it out and they’ll just keep saying detention anyway is

  18   just not fair.    It’s just not fair.      It is not what the Bail

  19   Reform Act talks about.

  20               MR. ROBOTTI:    It is, Your Honor.      It’s a presumption

  21   case.

  22               THE COURT:   It’s not whether or not the Government

  23   agrees.   I mean that would make life easier for you if the

  24   Government agreed.     It’s whether or not the Government’s

  25   argument that there would be no pain suffered by the suretors
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 28 of 34 PageID #: 843



                                                                                  28

   1   would be [indiscernible].

   2              MR. DeCASTRO:     So I think your solution, I mean it

   3   would be the Court’s solution, you know, if -- and you can ask

   4   the suretors, and my understanding is they would, from my

   5   conversations with them, that most if not all would sign the

   6   bond.   Even if four decided not to sign the bond, you have six

   7   people signing the bond.      I can’t remember the last time I’ve

   8   had more than five people sign the bond in this court or the

   9   Southern District.

  10              MR. ROBOTTI:     Well, Your Honor, let’s talk about what

  11   that means.    So three of those people would be the defendant’s

  12   family who do not have any assets different here --

  13              THE COURT:    Well, that depends who signed it.

  14              MR. ROBOTTI:     And then depending on who the other

  15   three are, I mean the other couple then who clearly cannot meet

  16   any financial eligible requirement here -- and just with

  17   respect to the suretor in Utah, I’m sure he had lots of nice

  18   things to say about Mr. Garcia Luna but he obviously doesn’t

  19   know all the evidence that the Government has about Mr. Garcia

  20   Luna’s extensive crimes over the last 20 years.           So I don’t

  21   think that that really adds much value here.          And I do think

  22   that somebody who’s facing a potential life sentence may be

  23   willing to leave an acquaintance behind holding the bag for a

  24   $300,000 property to avoid that jail sentence.

  25              So look, Your Honor, this is a presumption case.            The
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 29 of 34 PageID #: 844



                                                                                  29

   1   burden is here, is on the defense in the first instance to come

   2   forward with a package that rebuts that presumption.           Right now

   3   we have a lot of speculation that even if these properties were

   4   not put up by Mr. Garcia Luna that some people might be willing

   5   to sign this bond.     We don’t have anything concrete about that.

   6   Yet either way, it is the Government’s position that the bond

   7   is not sufficient here.      But certainly in these circumstances

   8   here the defense has not rebutted the presumption.

   9              THE COURT:    And which suretors are here today?

  10              MR. DeCASTRO:     Mr. Ramirez, Ms. -- I mess up her last

  11   name, [indiscernible], and the defendant’s wife and father

  12   also.

  13              THE COURT:    Okay.

  14              MR. DeCASTRO:     All are available by phone because

  15   they’re all in different places.        In this one issue, I just

  16   don’t understand why the Government is hammering on this as if

  17   all the suretors have to -- they have to be financially

  18   responsible.    They don’t have to be able to get $1 million from

  19   them to [inaudible] where it has to be fully secured.

  20              MR. ROBOTTI:     Well, of course, Your Honor, a $1

  21   million bond is meaningless if there’s no way to satisfy it.

  22              THE COURT:    Well, except that it would present an

  23   obligation to the signers that could potentially go for the

  24   rest of their lives.

  25              MR. ROBOTTI:     Of course, Judge, but the likelihood of
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 30 of 34 PageID #: 845



                                                                                  30

   1   the Government recovering $1 million is of course very minimal.

   2   And you know, if somebody realizes they’re going to be on the

   3   hook for 10 percent of their wages for the rest of their lives

   4   versus actually having to pay $1 million, that’s a different

   5   incentive.

   6                MR. DeCASTRO:    I don’t know anyone anywhere that

   7   wants to have their wages garnished when people have to pay

   8   their bills.

   9                THE COURT:   Okay.   All right.    I’m going to reserve

  10   decision.    I’m going to think about this.       I’ll take a short

  11   recess.   I may or may not want to speak to the suretors.           But I

  12   think we have a couple of other cases to do at this point.

  13                MR. ROBOTTI:    Okay.   Thank you, Judge.

  14                MR. DeCASTRO:    Stick around?

  15                THE COURT:   Yes, stick around.

  16   (Off the record at 3:41 p.m.)

  17   (Back on the record at 4:32 p.m.)

  18                THE CLERK:   Second call for case No. 19-CR-576, US v.

  19   Garcia Luna.     Counsel, please state your appearance for the

  20   record.

  21                MR. ROBOTTI:    Good afternoon again, Your Honor.

  22   Michael Robotti for the United States.

  23                MR. DeCASTRO:    Cesar DeCastro for Mr. Garcia Luna.

  24   Good afternoon.

  25                THE CLERK:     Previously sworn Spanish interpreter also
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 31 of 34 PageID #: 846



                                                                                  31

   1   present.

   2               THE COURT:   All right.     We’ve had three sets of

   3   arguments in this case and counsel on both sides have presented

   4   what I think are strong arguments.        This is not an easy case.

   5   It’s a case where I believe that reasonable people could

   6   disagree.   Pretrial Services has recommended that there are no

   7   conditions or combinations of conditions that will reasonably

   8   assure the appearance of the defendant as required and the

   9   safety of the community and recommends detention.           The

  10   Government also takes that position and the defense believes

  11   that there are reasonable conditions and combinations of

  12   conditions that could ensure his return to court.

  13               I don’t see this as much as a danger to the community

  14   argument as a risk of flight argument that’s the key issues

  15   here.   I don’t go as far as the Government does to say that

  16   there are no conditions or combinations of conditions that

  17   could ensure his return.      Similarly, I don’t agree with

  18   Pretrial Services to that extent although I think I understand

  19   the position.    I’ve looked at the factors under the Bail Reform

  20   Act, the nature and characteristics of the defendant, the crime

  21   charged, the evidence, et cetera, et cetera and I’ve looked at

  22   the package very carefully and I’m not going to go through all

  23   the reasons and the arguments that both sides made.           I think

  24   the record’s pretty clear on that.        Ultimately, my view is that

  25   this package is not strong enough at this point to ensure his
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 32 of 34 PageID #: 847



                                                                                  32

   1   return to court.     And there are a number of reasons why, but I

   2   think what particularly is troubling about the package is that

   3   it relies solely on income but not on assets.          And residential

   4   assets, assets that would actually cause some kind of pain to

   5   the individual that’s greater than mere garnishment of wages,

   6   particularly as the Government noted after a house would have

   7   been confiscated and used to pay the amount of the bond.            So

   8   that’s a brief summary of my reasons I think the bond is not

   9   strong enough.    I’m not saying that there are no conditions

  10   that could ensure his return to court, but this bond doesn’t

  11   quite do it.    So that’s my ruling.

  12              MR. DeCASTRO:       I [inaudible].

  13              MR. ROBOTTI:     Thank you, Judge.

  14              MR. DeCASTRO:       Your Honor, if, for example, we were

  15   to put up some residential properties, can we come back to

  16   court or do we --

  17              THE COURT:    You can always come back to court any

  18   time to be heard.     Right.

  19              MR. DeCASTRO:       Right.   I mean do we come back to Your

  20   Honor or do we start this process all over again?

  21              THE COURT:    Whoever’s on duty at the time you come

  22   back to.   But if whoever’s on duty is asked what my ruling was,

  23   my ruling wasn’t that there’s no combination of conditions.

  24   It’s that this package was troubling for the reasons that the

  25   Government mentioned and for the particular fact that there’s
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 33 of 34 PageID #: 848



                                                                                  33

   1   not any solid assets behind it.        I don’t see a rental property

   2   as being the kind of asset that would make me comfortable.             But

   3   again, another judge may see it differently.

   4              MR. DeCASTRO:     Thank you, Judge.

   5              THE COURT:    Okay.

   6              MR. ROBOTTI:     Thank you, Judge.

   7              THE COURT:    All right.     Thank you.

   8   (Proceedings concluded at 4:36 p.m.)

   9                                  * * * * * *

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 1:19-cr-00576-BMC Document 34-4 Filed 03/30/20 Page 34 of 34 PageID #: 849



                                                                                  34

   1        I certify that the foregoing is a court transcript from an

   2   electronic sound recording of the proceedings in the above-

   3   entitled matter.

   4

   5

   6                                             Mary Greco

   7   Dated:   March 23, 2020

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
